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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE No. 17-cv-62374-BB

  WATSON MUSIC GROUP, LLC,

                 Plaintiff,
  v.

  SPOTIFY USA INC.,

              Defendant.
  _____________________________________/

                                              ORDER

          Upon the Joint Scheduling Report filed by the parties in this action on February 12, 2018

  together with the Unopposed Motion for Stay, it is ORDERED that:

          1.     The case is stayed pending the determination by the United States District Court

  for the Southern District of New York (“SDNY Court”) of the Motion to Approve Final

  Settlement of the class action styled Ferrick v. Spotify USA, Inc., Case No. 16-cv-8412 (AJN)

  (the “Ferrick Class Action”).

          2.     Within ten (10) days of the SDNY Court issuing a ruling in the Ferrick Class

  Action on the Motion to Approve Final Settlement, the parties shall advise this Court.

          DONE AND ORDERED in Chambers at Fort Lauderdale, this              day    of     February,

  2018.



                                                      HON. BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE

  Copies furnished to:
  All Counsel of Record




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